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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION


UNITED STATES OF AMERICA
ex rel. MICHAEL O'CONNOR and
CELIA RUMANN,

             Plaintiffs,

      v.                                         Case No. B : \5-a/--1"3'5\-:J-~'JBi

ARIZONA SUMMIT LAW SCHOOL,
LLC, FLORIDA COASTAL SCHOO;L OF                  FILED IN CAMERA AND
LAW, INC. , CHARLOTTE SCHOOL OF                  UNDER SEAL
LAW, LLC, INFILAW CORPORATION,
INFILAW HOLDING, LLC, STERLING
CAPITAL PARTNERS, BARBRI, INC.,                  JURY TRIAL DEMANDED
and KAPLAN, INC.                                                             .
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             Defendants.                                                   -~~S:       c.n       ~
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                                   COMPLAINT                           r.;
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      On behalf of the United States of America a nd themselves,    Re~~:s ~chael
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O'Connor and Celia Rumann ("Relators") file this qui tam complaint against

Arizona Summit Law School, LLC, Florida Coastal School of Law, Inc., Charlotte

School of Law, Infi.Law Corporation, Infi.Law Holdings, LLC, Sterling Capital

Partners, BarBri, Inc., and Kaplan, Inc. ("Defendants"), and allege as follows:

                                 INTRODUCTION

      This is a civil action to recover damages and penalties on behalf of the United

States of America arising from false claims and statements made, caused and/or
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presented by the Defenda nts in violation of t he Federal False Claims Act ("FCA"),

31 U.S.C. § 3729 et seq.

      The FCA allows an individual known as the relator, or whistleblower, to file

an action on behalf of the government for violations of t he FCA and receive a

portion of any recovery as an award to the qui tam plaintiff. 31 U.S.C. § 3730.

Under the FCA, the Complaint must be filed under seal (without service on t he

defenda nts) to enable the government to conduct its own investigation without t he

defendants' knowledge and to allow the government an opportunity to interve ne in

the action.

      Defendants have violated the FCA by engagin g in a scheme to submit, or

cause to be submitted, false claims for student loans from the federa l student aid

programs a dministered by the U.S. Dep artment of Education (ED). Specifically,

Defendants knowingly engaged in a sch eme to falsify t hree for-profit law schools'

complia nce with the regulations governing the schools' eligibility to participate in

t he federally-subsidized student loan programs created under Title IV of the Higher

Education Act, 20 U.S.C. §§ 1070 et seq. ("Title IV'). Defendants' misconduct has

resulted in millions of dollars in false claims that were submitted to and paid by t he

federal government.

                           JURISDICTION AND VENUE

      1.      Relators bring this action on behalf of themselves and the United

States of America pursuant to 31 U.S.C. § 3730(b)(1).



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      This Court has subject matter jurisdiction over Plaintiffs' claims ansmg

under the False Claims Act, 31 U.S.C. § 3729 et seq., pursuant to 31 U.S. C. §3732(a)

and 28 U.S.C. § 1331 and 1345. The Court has supplemental jurisdiction to

entertain common law or equitable claims pursuant to 28 U.S. C. § 1367(a).

      This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C. §

3732(a) because Defendants can be found in, reside in, and/or have transacted

business within the United States.

      Venue is proper in this district under 28 U.S.C. §§ 1391(b)-(c), and 31 U.S.C.

§ 3732(a) because at least one Defendant resides in this district and because alleged

violations of the FCA occurred in this district.

                                   DEFENDANTS
      Defendant Arizona Summit Law School, LLC, formerly known as Phoenix

School of Law, operates a for-profit law school located in Phoenix, Arizona ("Summit

Law"). Summit Law is registered as a Delaware limited liability company. Prior to

November 2013, Summit Law was named the Phoenix School of Law.

      Defendant Florida Coastal School of Law, Inc. operates a for-profit law school

located in Jacksonville, Florida ("Florida Coastal"). Florida Coastal is registered as

a Delaware Corporation.

      Defendant Charlotte School of Law, LLC operates a for-profit law school

located in Charlotte, North Carolina ("Charlotte Law"). Charlotte Law is register ed

as a Delaware limited liability company.



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      Defendants Summit Law, Florida Coastal and Charlotte Law are all owned

by Defendant InfiLaw, a for-profit consortium of law schools, and collectively

referred to herein as the "InfiLaw Schools."

      Defendant InfiLaw Corporation is a Delaware corporation with its primary

place of business located at 8625 Tamiami Trail North, Suite 500, Naples, Florida

34108. Defendant InfiLaw Holdings, LLC is a Delaware limited liability company

with its primary place of business in Naples, Florida . The Defendants in this

paragraph are collectively referred to herein as "InfiLaw."

      InfiLaw owns, operates and manages the InfiLaw Schools. InfiLaw dictates

or approves a ll major ma nagement decisions, policies, and business arrangements

at the InfiLaw Schools.

      Defendant Sterling Capital Partner s, LLC, d/b/a Sterling Partners, is a

Chicago-based private equity firm that is registered as a Delaware limited liability

company ("Sterling Partners"). Sterling Partners purchased Florida Coastal School

of Law in 2004 and formed InfiLaw as a holding and management company for

Florida Coastal. Sterling continues to hold an approximate 88% interest in InfiLaw

a nd directly controls the management and policy decisions made by InfiLaw and the

InfiLaw Schools.

      Defendant Barbri, Inc. is a Delaware corporation with its primary place of

business located at 9400 North Central Expressway, Ste. 613, Dallas, Texas 75231

("Barbri"). Barbri provides preparation courses and materials for individuals taking

state bar exams, most of whom are recent law school graduates.
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      Defendant Kaplan, Inc. is a Delaware corporation with its primary place of

business located Fort Lauderdale, Florida ("Kaplan"). Kaplan provides prep aration

courses and materials for individuals taking state bar exams and is a competitor

with Barbri in the bar exam prep aration course market.

                                  THE RELATORS
      Relator Michael O'Connor was form erly employed by the Summit Law as an

Associate Professor of Law with tenure.

      Relator Celia Rumann was for merly employed by the Summit Law as an

Associate Professor of Law with tenure.

      As defined in 31 U.S.C. § 3730(e)(4)(B), Relators qualify as the "original

source" of the allegations ma de herein. Specifically, t he violations alleged herein are

based upon Relators' per son al knowledge, expertise in the legal education field, and

non-public information obtained by Relators during and after t heir employment at

Summit Law. Relators provided the information that forms the basis of the

allegations ma de herein to the federal governmen t prior to t h e filing of this

Complaint a nd prior to any public disclosure of the violations alleged herein.

                        THE GOVERNMENT PROGRAMS
      A.     Title IV of the Higher Education Act

      Under Title IV of t he Higher Education Act of 1965, 20 U .S.C. §§ 1070 et seq.,

Congress established various student loan a nd grant programs, including but not

limited to the Feder al Family Education Loan Program ("FFELP''), and t he Federal



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Direct Loan Program ("FDLP") (collectively "Title IV programs") in order to

financially assist eligible students in obtaining a post-secondary education.

      Although the mechanism by which funding is disbursed to eligible students

under the Title IV programs varies, each Title IV progra m requires compliance with

specific conditions as a prerequisite to obtaining federal funds.

      In order to become eligible to receive Title IV funding under programs such

as FFELP or FDLP, or to h ave its students receive Title IV funding, a post-

seconda ry educational institution must first enter into a program participation

a greement ("PPA") with the Department of Education . 20 U.S.C. § 1094(a); 34

C.F.R. §668.14.

      Each PPA expressly conditions a school's initial and con tinuing eligibility to

receive funds under Title IV programs on compliance with specific statutory

requirements, including 20 U.S.C. § 1094 and 34 C.F.R. §§ 668.14 and 668.22.

      In a ddition to t he requirements set forth by statute or regulation , the ED

publishes annually the Federal Student Aid Handbook (referred to herein as the

"FSA Handbook"), which provides a dditional guidance for institutions that

participate in Title IV programs. E ach time an institution submits data or requests

or disburses funding from a Title IV funding source, it is implicitly a nd explicitly

representing t h at the data, request, or disbursement is compliant with the

instructions set forth in the FSA H a ndbook.

      B.     Title IV Loan Programs

      Under the FFELP loan progr ams, which include subsidize d a nd un-
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subsidized Stafford Loans, a guaranty agency makes the eventual claim for

payment by the United States for many loans prior to July 2010. No new loans were

made under FFELP after July 1, 2010. Prior to that date, the school and student

submitted an application to a private lender for a loan on behalf of the student. If a

student defaults in repaying a loan under the FFELP program, a state or private

guaranty agency reimburses the lender or the subsequent holder of the loan for the

outstanding balance and takes assignment of the loan for collection action. 34

C.F.R. § 682.401(b)(14). If the guaranty agency is unable to collect from the

borrower, the ED reimburses the guaranty agency for the loss it incurred in

honoring the defaulted claims, 20 U.S.C. § 1078(c)(1)(A), and the ED may, in its

discretion, take assignment of the loan. 20 U.S.C. § 1078(c)(8). In this way, the

government is ultimately called upon to satisfy claims for payment.

      In order to participate in the FFELP or any other Title IV loan, as opposed to

grant, program, a student completes a Master Promissory Note ("MPN") and

submits the MPN to the educational institution. The institution, in turn, completes

a "School Certification," in which it certifies the accuracy of the information it

provided to the ED and the student's eligibility for the loan. 34 C.F.R. § 682.102.

While the MPN itself is valid for ten years, the educational institution determines

the student's ongoing eligibility for aid and completes the School Certification

annually.

      Under FFELP, the educational institution then submits the MPN to the

lender. Upon approval by the lender, the lender obtains a loan guarantee from a
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guarantee agency. 34 C.F.R. § 682.102. The loa n is made in reliance upon the

accuracy of the information provided by the educational institution.

      The lender transfers the FFELP funds directly into the educational

institution's account. Upon receiving the FFELP funds, the educational institution

credits a student's account for education-related expenses, such as tuition, fee s,

books, and supplies.

      For subsidized Stafford loans, the government pays the interest on the

student's behalf during the time the student is enrolled in school on at least a half-

time basis, and during the student's grace period before repayment commences. 34

C.F.R. § 682.102(d)(2).

      In the event that a student defaults on his or her loan, the ED pays to t he

guarantee agency all or part of the unpaid principal and accrued interest, as well as

a variety of administrative costs. 34 C.F.R. § 682.404.

      After July 2010, the Direct Loan program replaced the FFELP program as

the primary source of Title IV student loans. Under the direct loan program, the

federal government directly provides eligible students with subsidized and

unsubsidized Stafford loans. Again, these loa ns disb ursements are made directly to

an institution, and the instit ution is responsible for disbursing or "drawing down"

funding for t uition and related education expenses. Once tuition and other expenses

owned to the school have been paid, students may be eligible to receive

disbursements of their remaining eligible funds to cover living expenses and other

indirect education costs.
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      Federal Direct Loans are availa ble to stude nts who meet eligibility

requirement s including being matriculated into a degree program, enrolling at least

half time, and meeting Satisfactory Academic ProgTess r equirem ents.

      Title IV grant and loan funding is only available if bot h the student a nd

school meet the eligibility r equireme nts set forth in Title IV statute, regulations

promulgated under Title IV, and other guidance issued by the Department of

Education.

      The loans made by the United States through the Title IV programs are

subsidized United States taxpayers in that the gove1·nment p ays a portion of the

interest on the loans and covers the cost of loa n defaults and stude nt loan

forgiveness programs for which many students ar e or will be eligible.

      C.        The 90110 Rule

      For-profit or proprietary institutions, s uch as t he InfiLaw Schools, must

derive at least 10 percent of their reve nues for each fiscal year from sources other

than Title IV, HEA program funds. 34 C. F.R. § 668.28. This is referred to as the

"90/10 Rule."

      Compliance with the 90/10 Rule is a r equir em ent for institutions to continue

participation in Title IV Stude nt Aid Programs. 34 C.F.R. § 668.14(b)(16).

      The m ethodology for calculating the percentage of a sch ool's revenue that is

derived from Title IV source s is set forth in 34 C.F.R. § 668.28. "90/10 Revenue" is

defined as funds generated from:



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                    (i)     Tuition, fees, and other institutional charges for students
                            enrolled in eligible programs as defined in §668.8;

                    (ii)    Activities conducted by the institution that are necessary
                            for the education and training of its students provided
                            those activities are-

                            (A) Conducted on campus or at a facility under the
                            institution's control;

                            (B) Performed under the supervision of a member of the
                            institution's faculty; and

                            (C) Required to be performed by all students in a specific
                            educational program at the instit ution; and

                    (iii)   Funds pa id by a student, or on beh alf of a student by a
                            party other than the institution, for an education or
                            training program that is not eligible under §668.8 if the
                            progra m-

                            (A) Is approved or licensed by the appropriate State
                            agen cy;

                            (B) Is accredited by an accrediting agency recognize d by
                            the Secretary under 34 CFR part 602;

                            (C) Provides an industry-recognized credent ia l or
                            certification, or prepares students to take an examination
                            for an industry-recognized credential or certification
                            issued by an independent third party;

                            (D) Provides training needed for students t o maintain
                            State licensing requirements; or

                            (E) Provides training needed for students to meet
                            additional licensing requireme nts for specialized training
                            for practitioners that already meet the general licensing
                            r equirements in that field.

34 C.F.R. § 668.28(a)(3).

      Revenue does not include "[t]he a mount the studen t is charged for books,

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supplies, and equipment unless the institution includes that amount as tuition,

fees, or other institutional charges." 34 C.F.R. § 668.28(a)(7)(v).

      Every proprietary institution must report the perce ntage of revenue it

receives from Title IV sources on an annual basis. This ratio is reported in a

footnote to the schools' financial statement audit, which is submitted to the ED. The

revenue percentage must be calculated in accordance with 34 C.F.R §668.28. The

institution must also report in the footnote the dollar amount of the numerator and

denominator of its 90/10 ratio as well as the individual revenue amounts identified

in section 2 of appendix C to subpart B of part 668. 34 C.F.R. § 668.28.

      If a n institution does not derive at least 10 percent of its revenue from

sources other than Title IV, HEA program funds:

             (1)    For two consecutive fiscal years, it loses its eligibility to
                    p articipate in the Title IV, HEA programs for at least two fiscal
                    years. To regain eligibility, the institution must demonstrate
                    that it complied with the State licensure and accreditation
                    requirements under 34 CFR 600.5(a)(4) and (a)(6), and the
                    financial responsibility requireme nts under subpart L of this
                    part, for a minimum of two fiscal years after the fiscal year it
                    became ineligible; or

             (2)    For any fiscal year, it becomes provisionally certified under
                    §668.13(c)(1)(ii) for the two fiscal years after the fiscal year it
                    failed to satisfy the revenue requirement. However, the
                    institution's provisional certification terminates on-

                           (i) The expiration date of the institution's progra m
                           participation agreement that was in effect on the date the
                           Secretary determined the institution failed this
                           r equireme nt; or

                           (ii) The date the institution loses its eligibility to
                           participate under paragraph (c)(l) of this section; and
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             (3)    It must not ify the Secretary no later than 45 days after t he end
                    of its fiscal year that it failed to meet t his requirement.

34 C.F.R. § 668.28(c).

      D.     Federal Proprietary Institution Requirements

      To be considered an eligible program, a proprietary institution must meet the

requirements set forth in 34 C.F.R. § 668.8, which covers programs t hat prepare

students for gainful employment in a recognized occupation. 34 C.F.R. § 600.5(a)(5).

It is also r equire d that the school be accredited by an accrediting agency recognized

by the U.S. Secretary of Education. 34 C.F.R. § 600.5(a)(6).

      As proprietary institutions, the InfiLaw Schools are also required to report

the employment status of t heir graduates. 34 C.F.R. §668.6 states, in relevant part,

that the institutions must disclose to prospective students:

      (iv) The placement r ate for students completing t he program, as determined
      under a methodology developed by the National Center for Education
      Statistics (NCES) when that rate is available. In th e meantime, beginning on
      July 1, 2011, if the institution is required by its accredit ing agency or State to
      calculate a placement rate on a program basis, it must disclose the rate under
      this section and identify the accrediting agency or State agency under whose
      requirements the rate was calculated. If t h e accrediting agency or State
      requires an institution to calculate a placement rate at the instit utional level
      or other t han a program basis, the institution must use the accrediting
      agency or State methodology to calculate a placement rate for t h e program
      and disclose that rate;

34 C.F.R. §668.6(b)(iv).

      E.     Accrediting Agency Requirements

      In order to be eligible to participate in the Title IV programs, an instit ution

must be accre dited by an accreditation agency recognized by t he Unite d States
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Secretary of Education. 34 C.F.R. § 600.5. Loss of accreditation results in an

a utomatic 24-month loss of the institution's Title IV eligibility. 34 C.F.R. §

600.11(c).

      The InfiLaw Schools' accrediting agency        IS   the American Bar Association

("ABA").

             i.     ABA Required Disclosures

      ABA Standard 509 requires t h at:

             (a) All information that a law school reports, publicizes, or
             distributes sh all be complete, accurate and not misleading to a
             rea sonable law school student or app licant. A law school sh all
             u se due diligence in obtaining and verifying such information.
             Violations of t hese obligations may result in sanctions under
             Rule 16 ofthe Rules of Procedure for Approval of Law Schools.

             (b) A law school shall publicly disclose on its website, in the form
             and manner and for the time frame designated by the Council,
             t he following information: (1) admissions data; (2) tuition and
             fee s, living costs, and financial aid; (3) conditional scholarships;
             (4) enrollment data, including academic, transfer, and other
             attrition; (5) numbers of full-time and part-time faculty,
             professional librarians, and administrator s; (6) class sizes for
             first-year and upper-class courses; number of seminar, clinica l
             and co-curricular offerings; (7) employment outcomes; and (8)
             bar passage data.

      The information t hat its member law schools are required to report under

Standard 509 is material to the schools' ABA accreditation and, hence, material to

the schools' eligibility to participate in the Title IV programs.

             n.     ABA Bar Passage Requirements




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      ABA Standard 316 sets out the minimum state bar exam passage rates t h at a

schools' graduate must achieve in order for the school to remain accredited by the

ABA. Standard 316 states that:

            A.    A law school's bar passage rate shall be sufficient, for
            purposes of Standard 301(a), if t he school demonstrates that it
            meets any one of the following tests:

                  1) That for students who graduated from the law school
            within the five most recently completed calendar years:

                         (a) 75 percent or more of t hese graduates who sat
                  for the bar passed a bar examination, or

                         (b) in at least three of these calendar years, 75
                  percent of the students gr aduating in those years and
                  sitting for the bar have passed a bar examination. In
                  demonstrat ing compliance under sections (1)(a) and (b),
                  the school must report bar passage results from as ma ny
                  juTisdictions as necessary to account for at least 70% of its
                  graduates each year, starting with t he jurisdiction in
                  which t he highest number of graduates took th e b ar exam
                  a nd proceeding in descending order of frequency.

                   2) That in three or more of t he five most recently
            completed calendar year s, the school's annual first time bar
            passage rate in the jurisdictions reported by the school is no
            more than 15 points below the average first-time bar passage
            rates for graduates of ABA-approved law sch ools taking the bar
            examination in these same jurisdictions. In demonstrating
            compliance under section (2), the school must r eport first-time
            bar passage data from as many jurisdiction s as necessary to
            account for at least 70 percent of its graduates each year,
            starting with t he jurisdiction in which the highest number of
            graduates took t he bar exa m and proceeding in descending order
            of frequency. When more than one jurisdiction is reported, the
            weighted average of the results in each of th e r eported
            jurisdictions shall be used to determine compliance.

            B.    A school shall be out of compliance with the bar passage
            portion of 301(a) if it is unable to demonstrate that it meets the
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            requirements of paragraph A (1) or (2).

            C.    A school found out of compliance under paragraph B and
            that has not been able to come into compliance within t h e two
            year period specified in Rule 13(b) of the Rules of Procedure for
            Approval of Law 21 ABA Standards for Approval of Law Schools
            2013-2014 Schools, may seek to demonstrate good cause for
            extending the period the school has to demonstrate compliance
            by submitting eviden ce of:

                    (i)   The sch ool's trend in bar passage rates for bot h
            first-time a nd subsequent takers: a clear trend of improvement
            will be considered in the school's favor , a declining or flat t rend
            against it.

                   (ii)   The length of time the school's bar passage rates
            have been below the first-time and ultimate rates establish ed in
            paragraph A: a shorter time period will be con sidered in the
            school's favor, a longer period against it.

                    (iii) Actions by the school to address bar passage,
            part icularly the school's academic rigor and the demonstrated
            value and effectiveness of the school's academic support and bar
            preparation progr ams: value-added, effective, sustained a nd
            pervasive actions to address bar passage problems will be
            considered in the school's favor; ineffective or only marginally
            effective programs or limited action by the school against it.

                   (iv)   Efforts by the school to facilitate bar passage for its
            graduates who did not p ass t he bar on prior attempts: effective
            a nd sustained efforts by the school will be considered in the
            school's favor; ineffective or limited efforts by the school again st
            it.

                  (v)    Efforts by t he school to provide broader access to
            legal education while maintaining academic rigor: sustained
            meaningful efforts will be viewed in the school's favor ;
            intermittent or limited efforts against it.

                   (vi)  The demonstrated likelihood t h at the sch ool's
            students who t ran sfer to other ABA-approved schools will pass
            the bar examin ation: transfers by stu dents with a strong
            likelihood of passing the bar will be considered in t he school's
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             favor , providing the school h as undertaken counseling and other
             appropriate efforts to retain its well-performing students.

                    (vii) Temporary circumstances beyond the control of the
             school, but which the school is addressing: for exa mple, a
             natural disaster that disrupts the school's operations or a
             significant increase in the standard for passing the relevant bar
             examination(s).

                   (viii) Other factors, consistent with a school's
             demonstrated and sustained mission, which the school considers
             relevant in explaining its deficient bar passage results and in
             explaining the school's efforts to improve them.

             u.    Admission of Qualified Students

      ABA Standard 501 (b) states: "(a] law school shall not a dmit applicants who

do not appear capable of satisfactorily completing its educational program and

being admitted to the bar." Importantly, Interpretation 501-4 states:

             A law school may not permit financial considerations
             detrimentally to affect its admission and r etention policies and
             their a dministration. A law school may face a conflict of interest
             whenever the exercise of sound judgment in the application of
             admission policies or academic standards and retention policies
             might reduce enrollment below the level necessary to support
             the program.

      F.     Title IV Reporting and Certification Requirements

      In order to maintain its eligibility to receive Title IV funding, a for-profit

educational institution that participates in a ny Title IV program must provide the

ED with an annual compliance audit of its administration of Title IV programs, and

an a udit of the institution's financial statements, prepared by independent auditors.

20 U.S.C. § 1094(c)(1)(A); 34 C.F.R. §§ 668.23 (a)(2) & (a)(4). For-profit educational

institutions, such as the InfiLaw Schools, must conduct their annual financial
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statements and complia nce audits in accorda nce with t he ED Office of Inspector

General's Audit Guide. The ED uses t he results of t h e compliance and financial

audits to determine whether schools are adhering to applicable r equirements for

Title IV fundin g, including t he 90/10 requ:ll·ement. As part of t h e a nnual audits, t he

Infi.Law Schools were required to certify, in the form of written "Required

Management Assertions," that, among other t hings, it complies with t he

requirements for eligibility to participate in Title IV programs.

      After a school becomes eligible to receive Title IV funding by entering into a

PPA, claims for payment of t hose funds can be m a de in variou s ways. Under FDLP,

for example, students submit requ ests for funding directly to the ED, or to t he ED

with the assistance of schools. Under the FFELP, students and sch ools jointly

submit requests to private lender s for loans t hat are t h en guaranteed by state

agencies and ar e, in t urn, insured by the ED and paid in the event of a defa ult .

       With respect to all Title IV, HEA progr a ms, the disbursement of federal

funds rests on required statements of eligibility made by sch ools that are necessary

for requests for payment to be considered. A student cannot be eligible to receive

Title IV funding unless he or she is enrolled in a sch ool that is ineligible to receive

Title IV funding.

       34 C.F.R. § 600.40 sets forth the criteria, process and consequences for an

institut ion's loss of Tit le IV eligibility. An education institution loses eligibility to

pa rticipate in Title IV progra ms on the date that the institution fails to meet a ny of

the eligibility requirements set forth in Part 600 of Title 34 of th e Code of Federal
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Regulations. 34 C.F.R. § 600.40 (a)(1). An institution must not ify t he Secretary (ED)

within 30 days of the date t hat it ceases to satisfy a r equirement for eligibility.

       By entering into a Program Participation Agreement with t he ED, each of the

InfiLaw Schools agreed to act as a fiduciary. 34 C. F.R. § 668.82. Specifically, "A

participating instit ution or a t hird-party servicer that cont r acts with that

institution acts in the nature of a fiduciary in t he administration of the Title IV,

HEA progr ams. To participate in any Title IV, HEA program, the institution or

servicer must at all t imes act with the competency and integrity necessary to

qualify as a fiduciary." 34 C. F.R. § 668.82(a). "A par ticipating instit ution is subject

to the highest standard of care and diligence in administering the programs and in

accounting to t he Secretary for the funds received under those programs." 34 C.F.R.

§ 668.82(b)(1).

      The Program Par ticipation Agree ments t h at were agreed to by t he InfiLaw

Schools required the schools to certify that, among other things, the schools would

comply with th e program statutes, regulations, and policies governing the feder al

student aid programs.

      The InfiLaw Schools also explicitly certified in their program participation

agreements that they would comply with Title VI of t he Civil Rights Act of 1964, as

a mended, and Title IX of the Education Amendments of 1972. These feder al

statutes prohibit discrimination on the basis of race, color, national origin, or sex.

      E ach time a Title IV institution disburses or "draws down" Title IV funding,

it must certify its complia nce with Title IV r egulations.
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       Both the Title IV regulations and ABA Standards prohibit the InfiLaw

Schools from publishing any false or misleading information regarding t heir

programs.

                              DEFENDANTS' MISCONDUCT

       The InfiLaw Schools, under the direction and control of InfiLaw and Sterling

Partners, submitted or caused to be submitted false claims for Title IV funding and

false statements that were material to the federal student aid funds that were

disbursed to, or on behalf of, the InfiLaw Schools' students.

       The InfiLaw Schools, with the assistance of t he other Defendants, h ave

violated the False Claims Act by creating programs and schemes that were designed

to ma nipulate and falsify the information t hat the InfiLaw Schools are required to

r eport to the ABA, ED, and prospective and current students.

       The false information submitted by t he Infi.Law Schools includes false 90/10

Rule data, bar passage rates, and graduate employment data.

       These false statements were knowing and material to the InfiLaw Schools'

eligibility to participate in Title IV progr ams.

       In a ddition to the factually false claims and material statements ma de by t he

InfiLaw Schools, the InfiLaw Schools also expressly and impliedly certified that

they were in compliance wit h the conditions set forth in t heir Program Participation

Agreements, the federal regulations governing the Title IV program, a nd t he

accreditation standards promulgated by the ABA. These cer tifications wer e

knowingly false.
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      The United States disbursed or guaranteed over $865 million in students

loans for approximately 16,000 students that attended the InfiLaw Schools from

2010 through the third quarter of the 2014-2015 school year. The InfiLaw schools

disbursed the majority of t his money to themselves in the form of tuition revenue.

The amounts paid on behalf of students at each of t he InfiLaw Schools by year and

federal progra m are set forth in Exhibit A.

      A.     InfiLaw' s Business Model Relies upon Fraud and Deceit to
             Retain Its Title IV Eligibility

      To satisfy InfiLaw's profit goals, the InfiLaw Schools a dmitted as many

students as possible, without regard as to whether those students could become

practicing attorneys. This lack of meaningful admission standards r equired t he

Infi.Law Schools to en gage in schemes to knowingly manipulate the Title IV

revenue, bar passage a nd graduate placement data that the Schools were required

to report in order to remain enrolled in the Title IV progr a m.

      ABA Standard 501 (b) states: "[a] law school shall not admit applicants who

do not appear capable of satisfactorily completing its educational program a nd

being admitted to t he bar." Importantly, Interpretation 501-4 states:

             A law school may not permit financial considerations
             detrimentally to affect its admission and retention policies a nd
             their administration. A law school may face a conflict of interest
             whenever t he exercise of sound judgment in the application of
             admission policies or academic standards a nd retention policies
             might r educe enrollment below the level necessary to support
             the program.

      The Infi.Law Schools are all accredited by the ABA a nd accreditation 1s


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required for the schools to be eligible to participate in t he Title IV Programs. Many

States also require t hat prospective lawyers graduate from AHA-accredited law

schools before taking the state's bar exam or obtaining a license to practice law as

an attorney of that state.

      Admission to law school is typically selective in that t here are more

applications by prospective students than available seats and that students must

display a level of academic skill that will allow them to complete t he rigorous law

school curriculum, pass a bar exam, and competently represent clients as practicing

attorneys.

      The Infi.Law Schools knowingly admit students that do not appear capable of

satisfactorily completing its educational program and being admitted to the bar.

The Infi.Law Schools, at the direction of InfiLaw, have allowed financial interests to

detrimentally affect its a dmission, r etention policies and law school a dministration.

      Students admitted to AHA-accredited law schools must complete an

assessment test prior to applying for admission that gauges the student's attitude

for legal study and ability to provide competent legal services as a n attorney. The

test used by virtually every AHA-accredited law school is the Law School Admission

Test or LSAT. Prospective law students that take the LSAT are given a score that

ranges from 120 to 180 and scor es fi·om each test administration are curved to

account for test-to-test variation in difficulty. The media n LSAT score is between a

151 and 152, me aning that 50% of students scored 152 and above while

approximately 50% score 151 or below. An LSAT score of 140 corresponds to the
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13.4 percentile, meaning that only 13.4% of test takers scored 140 or below. An

LSAT score of 135 corresponds to approximately the bottom 5% of a ll test taker s.

        LSAT scores are highly correlated with bar passage. At least one analysis

concluded that students t hat score below 144 on the LSAT have less than a 25%

chance of passing a bar exam on their first try.

        The InfiLaw Schools knowingly recruit and admit students that do not have a

reasonable chance of academic and professional success in the legal profession. For

example, at Florida Coastal, the LSAT scores for the 75th, 50th, and 25th

percentiles of students starting law school in 2014, were 147, 143, and 140,

respectively. This means t hat 25% of Florida Coastal's starting class, 106 students,

was in the bottom 13.7% of all LSAT takers. The median undergraduate GPA for

Florida Coastal's 2014 starting class was 2.93.

        In 2014, t he InfiLaw Schools enrolled more than 283 students that did not

score better than t he bottom 13.7% of all LSAT takers and 25% of Ch arlotte Law's

entering class were in the bottom 10% of LSAT scores. More than 50% of t he 1,132

students that InfiLaw enrolled in 2014 h ad a n undergraduate GPA of less t han

2.94.

        In comparison, looking at every medical sch ool in the United States, only 5

applicants nationwide were accepted to any medical school with Medical College

Admission Test (MCAT) scores in the bottom 13% percentile a nd an undergraduate

GPA     below   a   3.0   for   th e   academic    years   2012-2014,   combined.    See

https://www.aamc.or g/download/          321508/data/factstable24.pdf      (aggregating
                                            22
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admissions data from accredited M.D. programs).

         Overall, only 35% of InfiLaw's 2013 gTaduates found perma nent full-time jobs

that required a law license. To compound the lack of quality job prospects, the

median federal student loan debts for graduates of the Infi.Law Schools was

$184,792, $174,844, and $159,208 for Summit Law, Florida Coastal, and Charlotte

Law, respectively. These amounts do not include private or undergraduate student

loans.

         Infi.Law and the InfiLaw Schools knew that admitting unqua lified students

would put their ABA accreditation a nd Title IV eligibility at risk due to low

graduate employment and bar passage rates. Yet, instead of not admitting these

students, which would decrease InfiLaw's revenue, the InfiLaw Schools, at the

direction of Infi.Law, have instead opted to continue admitting unqualified students

and engage in a widespread scheme to manipulate and conceal the negative data

that would otherwise be generated by these unscrupulous practices. Without this

manipulation, the InfiLaw Schools would not be able to maintain ABA accreditation

a nd Title IV eligibility.

         B.    The InfiLaw "Trap"

         The InfiLaw "System" h as directed its schools to operate as a taxpayer-

funded trap for unwitting students. The Dea n of Summit Law has even referred to

"building a better mousetrap" when addressing the faculty about ways to keep




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students at the school. 1 This trap      IS   baited with the demonstrably false

representation t hat a legal education from t he InfiLaw Schools, financed with

hundreds of thousands of dollars in non-dischargeable student loan debt, is an

economically-sound decision. This illusion is purposefully manufactured and

maintained by various InfiLaw initiatives that are designed to deceive the next

ge neration of potential students, as well as the ABA and ED.

      First, the InfiLaw Schools spend a disproportionate amount of their students'

tuition on marketing and recruitment efforts designed to solicit potential students.

This includes employing admissions representatives t hat sell pote ntial students on

applying to the Infi.Law Schools and special admission programs designed to

identify a nd admit students that would not be admitte d to any other ABA-

accredited law schools. One such marketing program is InfiLaw's Alternative

Admissions Model Program for Legal Education (AAMPLE) Progr am. AAMPLE is a

"conditional a dmit" program that is typically targeted at recruiting students who

score poorly on the LSAT. AAMPLE's st ated purpose is "to provide a path of

admission to InfiLaw schools for individuals whose academic indicators (i.e., LSAT

scores, GPAs), may not reflect their potential to succeed in law school." AAMPLE

consists of a 6-7 week program of two classes, which is promoted as giving students

an introduction to law school while providing an alternate mode of entry into t he

Inf:i.Law Sch ools for students with exceptionally low LSAT and GPA scores. The


1 This idiom generally refers to improving upon a commonly-used device, but was
used by Dean Shirley Mays to literally convey the intent of trapping students at
Summit Law.
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program costs $500 and can either be taken online or at the InfiLaw Schools'

campuses. InfiLaw paid for the creation of a separate website, also known as a

landing page, www.lawcareernow.com , as a means of recruiting students into the

AAMPLE Program.

      Second, from the outset, InfiLaw begins collecting data on its students with

t he goal of predicting which students are likely to fail th e bar exam. This includes

data generated by the AAMPLE Program, MBE Assessmen t tests administered by

Kapla n, students' law school grades, LSAT scores, and data from the internal bar

preparation courses administered by Barbri. This data is used by InfiLaw's

statistician s to generate Excel spreadsh eets that calculate th e probability that a

student will fail the bar exam. Students' sex a nd race are used as quantitative

factors to identify studen ts at risk of failing t he bar in t he statistical "models"

employed by the InfiLaw Schools.

      Thir d, InfiLaw attempts to keep t he students enrolled in th e InfiLaw Schools

even after it becomes apparent that t he students are unlikely to pass t he bar or be

able benefit from a legal education. Students that h ave less than a 2.5 law sch ool

GPA, or even students with less than a 2.0 GPA, are allowed to continue taking

courses-even though the InfiLaw schools own internal grading systems indicate

the students are poor-performing and likely to fail the bar. This insures t hat

InfiLaw can continue collecting Title IV money for these students. At t he same

t ime, t h e InfiLaw Schools h ave implemented policies designed to undermine high

performing students' attempts to transfer to better law schools.
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      Fourth, near the end of their legal educations, InfiLaw students are forced to

enroll in InfiLaw's internal bar exam programs that are designed to further identify

students that are at risk of failing the bar and to artificially and illegally

manufacture non-Title IV 90/10 Revenue for the InfiLaw Schools.

      Last, the schools actively try to prevent students at risk of failing the bar

from taking a bar exam until those students no longer need to be reported as part of

the schools' bar passage rates or will take a later exam that has a historically lower

passage rate. These students are encouraged to participate in extended bar

preparation programs that allow the InfiLaw Schools to falsely count the students

as being "employed" in full-time positions on the InfiLaw Schools' job placement

disclosures, which are required by the ABA and 34 C.F.R. § 668.

      C.     In-house Bar Preparation Courses

      Barbri and Kaplan are the two largest bar exam test preparation providers in

the United States. Both companies begin soliciting law students to sign up for their

bar exam preparation courses during the first year of law school. Students that

enroll in Barbri's or Kaplan's courses are required to pay a deposit in exchange for

"locking in" the bar exam preparation course price. Law students that sign up

earlier, i.e., during their first year, supposedly pay less in deposit than students

that sign-up later. The deposit is typically between $99 and $500. However,

students that wait to sign up can often obtain discounts or other incentives as

Barbri and Kaplan compete to provide the students' bar review courses.

      Barbri and Kaplan both hire student representatives to recruit other
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students for their bar preparation courses. These representatives are often current

law students and receive a free or discounted bar exam preparation course in

exchange for r ecruiting students. The cost of a test preparation course varies

significantly by state, but is often between $2000 and $4500 for the 6-8 week course.

      Both Barbri's a nd Kaplan's bar prep aration courses include a se ries of live or

recorded lectures, study mat erials, and practice exams. A significant portion of the

courses' cost is attributable to Barbri's a nd Kaplan's copyrighted bar preparation

books, outlines, and pract ice exams, which are tailored to each state's bar exam.

      Typically, if Barbri or Kaplan offers a bar preparation course in a par ticular

state, t hey offer live or pre-recorded lectures in a physical classroom staffed by

Barbri or Kaplan employees (th e "live" courses). The live courses are offered at

almost every ABA-accredited law school in the state or, if there are two law school

in the same city, at least on e live course in th at city. Barbri a nd Kaplan offer bar

exam preparation courses at every non-Infi.Law law school in Arizona, Florida, a nd

North Carolina.

      In 2011 or 2012, Infi.Vaw and the Infi.Law Schools approach ed Barbri and

Kaplan about creating a n internal bar exam preparation program that would be

offered at the Infi.Law Schools.

      The program, which was implemented at all three Infi.Law Schools, utilized

the written materials a nd lectures developed by Barbri and Kaplan for their bar

exam preparation courses.

      The Summit Law intern al bar preparation course is referred to as the Multi-
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Year Bar Accelerated Review or "MyBar" program.

      Florida Coastal's internal bar preparation course        IS   called the Coastal

Enhanced Bar Pass Program.

      Charlotte Law's internal bar preparation course        IS     call the Bar Exam

Advanced Review or "BEAR'' program.

      In or around 2012, InfiLaw and th e InfiLaw Schools entered into agr eements

with Barbri a nd Kapla n that provide that Barbri and Kaplan would stop offering

t h eir own courses at the InfiLaw Schools in excha nge for the InfiLaw Schools'

purchase of Barbri a nd Kaplan materials for th eir internal programs.

      The only other in-house bar preparation program offered by a law school is a

purely optional course offered by t he University of Missouri in Kansas City

(UMKC). The UMKC program was actu ally developed by t he law school, as opposed

to simply relabeling Barbri and Kapla n's materials, and only costs $600. Students

at UMKC are allowed to take Barbri and Kapla n bar preparation courses, and

neit her Barbri nor Kaplan was excluded from UMKC's campus in order to prevent

studen ts from signin g up for those competing courses.

      The agreements between InfiLaw and Barbri a nd Kaplan prohibit Barbri and

Kaplan from soliciting the InfiLaw Schools' students, setting up recruiting tables at

the InfiLaw Schools, or offering discounts to InfiLaw students .

      The student representatives at Summit Law (and t he other InfiLaw Schools),

with whom Barbri and Kaplan h ad entered into agreements to recruit oth er

students in exch ange for a free bar preparations courses, were converted into
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InfiLaw internal bar review student representatives.

      Attempting to sign up for a "live" Barbri or Kaplan bar preparation course

through their websites directs students to Barbri or Kaplan employees that, by

agreement with InfiLaw, direct the students back to t he InfiLaw Schools' internal

bar preparation courses. For example, on t h e Barbri website, students from the

InfiLaw Schools who are attempting to inquire about a bar preparation course are

told to contact Karen Hundley, who is actually a Vice President at Barbri. Ms.

Hundley is not a Barbri representative for any other law schools and instead

redirects the students back to the InfiLaw internal bar review programs. InfiLaw's

agreements with Barbri and Kaplan illegally fixed the price of t he "live" bar

preparation courses offered to Summit Law students, eliminated competition from

Barbri and Kaplan, and resulted in large payments from InfiLaw to Barbri and

Kaplan to ensure that the InfiLaw Schools' in-house bar review courses were the

only option available to the InfiLaw students.

      As a nother example, th ere was a student that graduated from Summit Law

and then enrolled in a master's program at the Sorbonne in Paris, France. After

completing the master's program, the student attempted to take a bar review course

provided by BarBri to prepare for the New York bar exam. BarBri informed the

individual that the only way the student could take BarBri's preparation course was

to enroll in Summit Law's internal bar preparation course in Phoenix, Arizona.

      Although the InfiLaw Schools' bar preparation courses were touted as a n

honest attempt to increase the InfiLaw Schools' bar passage ra tes and as an
                                         29
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"individualized bar preparation progra m designed specifically for [Summit Law

students]" that "comprises the best features of Barbri and Kaplan," one of the

primary reasons that InfiLaw created the program was to inflate the portion of

revenue at the InfiLaw Schools that could be counted as non-Title IV or "10"

revenue. Prior to the creation of the MyBar program, the InfiLaw Schools, and in

particular Summit Law, were in danger of violating the 90/10 Rule because the vast

majority of their revenue was paid from Title IV sources.

      For 2010-2012, the InfiLaw Schools were all within 5 percentage points of

violating t he 90/10 rule . As a n example, for the 2010-2011 academic year, Summit

Law reported receiving 87.94 percent of its qualifying revenue from Title IV sources.

      The falsely reported 90/10 Rule data, which the InfiLaw Schools submitted at

the end of each year to the ED, and which the ED is required by statute to report to

Congress, is set forth in Exhibit B her eto. The InfiLaw Schools began reporting

false 90/10 Rule data at least by 2012, when the internal bar preparation course

was first launched.

      Another primary reason for the development of its internal bar revww

programs is so that InfiLaw could gather data on and identify students that were

unlikely to pass the bar exam. The goal of identifying students who were at high

risk of failing the bar exam was to persuade the students to delay or forgo the bar

exam a nd, thereby, falsely inflate the InfiLaw Schools' bar passage and employment

rates as set forth in greater detail below.

      Barbri and Kaplan entered into agreements with InfiLaw in connection with
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the InfiLaw Schools' internal bar exam programs knowing full well that one of the

purposes of the program was to inflate and falsify the Schools' non-Title IV revenue

to avoid having t he schools become automatically ineligible for Title IV funding.

      In order to immediately begin recognizing the money paid by the InfiLaw

Schools' students as non-Title IV revenue, the InfiLaw and the InfiLaw Schools ,

with assistance from Barbri and Kaplan, concocted a plan to make the students who

had already paid deposits or tuition to Barbri or Kaplan switch their enrollment to

the InfiLaw bar preparation programs for the July 2012 through July 2013 bar

exams. InfiLaw required students to make payments to the InfiLaw schools instead

of Barbri or Kaplan, and improperly counted this income as non-Title IV income in

their 90/10 calculations for 2012 through the present.

      The purpose of the internal bar review programs was to knowingly misstate

the InfiLaw Schools' 90/10 revenue calculation. For example, on September 15,

2011, the Dean of Summit Law (then called the Phoenix School of Law) informed

the Director of Academic Services at Summit Law t h at Defendant InfiLaw had

"tasked" Summit Law with "operating our own bar prep course as a real solution for

90/10." The Dean further described "this important initiative for our 90/10" as a

"top, top priority for both the school and the consortium." The Dean also insisted

that this "90/10 program" begin in December 2011 for those taking the February

2012 bar exam. After the Summit Law Director of Academic Services raised ethical

objections to forcing students to use an internal bar preparation course, Summit

Law terminated the Director's employment.
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      The $2500 each student paid to Summit Law for the MyBar course was

entirely for the use of the same Barbri materials and lectures that were used for

Barbri courses offered at the other law schools in Arizona. On information and

belief, the same materials used for the internal bar preparation courses at the other

InfiLaw Schools were merely Barbri and Kaplan materials used at other law schools

in those states that h a d been r elabeled for InfiLaw's internal review program.

      In addition to the anti-competitive and sham nature of the internal bar

preparation course revenue, the entire amount of the internal bar preparation

course fees paid to the InfiLaw Schools was really for "books and materials"

provided by Barbri and/or Kaplan. As a result, the InfiLaw Schools were prohibited

from counting this money as non-Title IV 90/10 revenue since this amount was not

included or disclosed as tuition, fees , or other institutional charges. 34 C.F.R. §

668.28(a)(7)(v).

      InfiLaw and the InfiLaw Schools' arrangements with Barbri and Kaplan

included agreements that prohibit Barbri and Kaplan from engaging in the

recruitment activities that Barbri and Kaplan engage in on other law school

campuses. This includes prohibitions against hosting informational sessions or

setting up recruitment "tables" on campus, sending emails to students regarding

Barbri and Kaplan's bar preparation programs, offering tuition assistance and

discounts to students or otherwise competing with InfiLaw in pricing or advertising

to InfiLaw Students for bar preparation courses.

      InfiLaw, the InfiLaw Schools, Barbri and Kaplan conspired to manipulate
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and falsify the InfiLaw Schools' 90/10 Rule data by entering into an illegal price

fixing and anti-competitive arrangement that limited students' ability to choose

between multiple competing live bar preparation programs, as well as eliminating

discounts and other incentives that would typically be offered to students by Barbri

and Kaplan. Specifically, the InfiLaw Schools' non-Title IV revenue was inflated by

approximately $2500 for each graduate that took the internal bar preparation

program.

      By requiring its graduates to take the InfiLaw Schools' internal bar review

course and actively preventing the students from purchasing other bar preparation

courses, the InfiLaw Schools reported false information to the ED and prospective

students r egarding the InfiLaw Schools' institutional charges. A Policy Bulletin

issued by the ED on January 7, 1999, states that all tuition, fee s, room and board,

and other charges an institution assesses a student are institutional costs, unless

demonstrated otherwise. Specifically, the ED guidance states that

      expenses for required course materials are institutional costs, if the
      student does not have a real and reasonable opportunity to purchase
      the required course materials from any place but the institution he or
      she is attending.

      ***

      If an institution wishes to classify the cost of required course materials
      as non-institutional costs, it must be able to substantiate that: 1) the
      required course materials were available for purchase at a relatively
      convenient location unaffiliated with the school; and 2) the institution
      made financial aid funds available to students in a timely manner, so
      its students could exercise the option to purchase the required course
      materials from alternative sources.


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      Fraudulently omitting the cost of the internal bar preparation courses from

the InfiLaw Schools' institutional charges resulted in inaccurate information being

submitted on every single student's Title IV student aid application. This adversely

affected students that were forced to take out private loans to complete the internal

bar preparation cour ses, and misstated the cost of attending the InfiLaw Schools.

      D.     Extended Bar Review Program

      In 2013, InfiLaw and the InfiLaw Schools developed an extended bar

preparation course t h at was designed to delay the bar exam for students t h at were

identified as being at high risk for failing th e bar. The InfiLaw Schools named t his

program the Unlock Potential or "UP" Program.

      The UP Program, which is provided in addition to the schools' internal bar

preparation course, is an extended, 6-month bar preparation program. During the

six-month UP Program, students are paid a monthly stipend of $1200 for living

expenses a nd placed in a part-time (20 hours per week), short-term, low-pay job.

Both the stipe nd and hourly pay are funded by the Infi.Law Schools.

      Even though the UP Program paid a stipend to the students, the InfiLaw

Schools still required students to pay t he $2500 bar review preparation course fee

so that the sch ools could falsely include t he fee as non-Title IV revenue while also

counting the UP Program stipend as institutional aid in t heir 90/10 calculation.

      Beginning in t he first year of law school, the InfiLaw Schools begin gathering

extensive data on students' academic performance. Specifically, InfiLaw began

administering Multi-State Bar Exam (MBE) questions to students as part of
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assessments t hat begin in the students' first year of law school. The InfiLaw Schools

use the data collected on their students, including the students' undergraduate

GPA, LSAT score and law school GPA to calculate the probability that a given

student will fail the bar exam.

      Based on the data collected on the law students, the InfiLaw Schools then

identify and recruit students that are considered likely to fail the bar exam for the

UP Progra m.

      Although technically any InfiLaw student could apply for the UP Program,

only those that are identified as being at high risk for failing the bar or were at risk

of being counted as unemployed were actually accepted into the UP Program.

      The UP Program was intentionally designed to, and h as, artificially inflated

the employment statistics reported by the InfiLaw Schools to the ABA, ED, and

prospective students.

      For example, Summit Law identified targeted and enrolled students at high

risk of bar failure to delay the July 2014 bar exam through participation in the UP

Program. These students did not sit for a bar exam in 2014, which artificially

inflated Summit Law's first-time taker bar passage rate for 2014.

      Another purpose of the UP Program is to identify students that are unlikely

to pass the bar and incentivize them to delay taking a bar exam or dissuade them

from ever taking the bar exam . In eit her case, the InfiLaw Schools h ave

manipulated and falsified their bar passage data , which is used by the ABA in

evaluating whether to continue accrediting the law schools.
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       The InfiLaw Schools knowingly misreported the employment status of the

students participa ting in the UP Program. Specifically, the InfiLaw Schools, at the

direction of InfiLaw, mischaracterized the UP Program participants as being

employed in full-time "bar p assage required" or "J.D . Advantage" positions. This

characterization of the UP Program participants' employment status is false

because the InfiLaw-funded positions provided to t h e students during the UP

Program were part-time (less t han 35 hours per week) and short-term (less than 1

year). Furthermore, it is false and misleading to count students whose primary "job"

is to continue studying for the bar as "employed." Last, the part-time (20 hours per

week) positions that were provided to students in the UP Program did not meet the

ABA definitions of"bar passage required" or "J.D. Advantage" positions.

        For example, for its 2013 and 2014 ABA employment reports, Summit Law

listed 7 (6 "bar passage required" a nd 1 "J.D. advantage" position) graduates as

employed in full-time, long-term positions funded by the law school and 26 (25 "J.D.

advantage" and 1 "bar passage required" positions) graduates employed in full-time,

short-term positions. Summit Law reported no graduates as having part-time

positions funded by the law school, which is the most generous characterization of

the UP Program participants allowed by the ABA regulations. The UP Program

participants were falsely classified as having full-time, long-term positions.

       Florida Coastal listed zero graduates employed in part-time positions funded

by the law school in its 2013 and 2014 ABA disclosures. The UP Program

participants were falsely classified in other categories .
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       Charlotte Law listed zero graduates employed in part-time positions funded

by the law school in its 2014 ABA disclosure. The UP Program participants were

falsely classified in oth er categories.

       E.     Summit Law Falsely Reported Its Bar Passage Numbers to the
              ABA
       ABA Standard 301 for the 2013-2014 ABA Standards and Rules of

Procedures (now ABA Standard 316) requires that accredited law schools prepare

students for admission to t he bar. Interpretation 301-6 states that a school may

satisfy Standard 301 by either (1) having 75% of its graduates fl.'Om the last five

years pass the bar exam that year, (2) in at least 3 of the last 5 years, h aving 75

percent of t he students graduating in those years and sitting for a bar exam pass

the exam, or (3) in 3 of the last 5 years, h aving a first-time bar passage rate that is

no more than 15 percentage points below the average first-time passage rates for

graduates of ABA-approved schools taking the exam in the same jurisdiction. For

options 1 and 2, the school must report bar passage results for as many jurisdictions

as necessary to account for at least 70% of its graduates each year, starting with t he

jurisdiction in which the highest number of graduates took the bar exam and

proceeding in descending order of frequency. For option 3, the school must report

first-time bar passage data

              from as many jurisdictions as necessary to account for at least
              70 percent of its graduates each year, starting with the
              jurisdiction in which the highest number of graduates took the
              bar exam and proceeding in descending order of frequency. When
              more than one jurisdiction is reported, the weighted average of
              the results in each of the reported jurisdictions shall be used to
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             determine compliance.

ABA Standards and Rules of Procedure for Approval of Law Schools 2013-2014,
Interpretation 301-6, available at http://www.americanbar.org/content/dam/aba/
publications/mise/legal education/Standards/2013 2014 standards chapter3.authc
heckdam.pdf (emphasis a dded).

      Similarly, Appendix 3: Guidance on Interpretation 301-6 from the ABA

reiterates that:

      The school must account for a minimum of 70% of first-time takers in each of
      the five most recently completed calendar years. It does this by starting with
      the jurisdiction in which the largest number of its graduates sit for the bar
      for the first time and proceeding in descending order of frequency until a
      minimum of 70% of first-time takers in each calendar year is accounted for .

Id. ,  available   at    http://www.americanbar.org/content/dam/abalpublications/
mise/legal education/Standards/2013 2014 standards appendix3 301 6.authcheck
dam.pdf (emphasis a dded) .

      For its 2014 ABA Standard 509 report, Summit Law reported that it had 299

fiTst-time bar takers, and disclosed its average school pass rate as 69.09% for a

sample comprised of 73.58% these students. This rate included g1·aduates taking the

February and July 2013 bar exam in Arizona (207 takers), Texas (5), Washington

(5), New Mexico (2) and Wisconsin (1). This rate was reported as 9.54% below other

first time takers from ABA-accredited law schools in those states.

      Summit Law knowingly misreported its bar passage data for the February

and July 2013 bar exams by failing to include bar passage data from California. For

the February and July 2013 California bar exams, 12 of 27 (44.4%) first-time takers

and 1 of 11 (9.1 %) repeat takers from Summit Law passed the California bar exam.

The overall passage rate on the 2013 California bar exams for first-time takers from


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ABA-accredited law schools was 71.09%. Had Summit Law followed t he

methodology required by the ABA and included California as t he jurisdiction with

the next largest population of bar exam takers, it would have reported a first-time

taker bar p assage rate of 67.09% and that its students passed at a rate 10.31% less

than first-time t akers from other AHA-accredited schools.

         For the February and July 2014 California bar exams, t here were 23 first

time takers from Summit Law. None of these students p asse d the bar. For t he

February and July 2014 Arizona bar, Summit Law ha d 131 of 239 or 54.8% of first-

time takers pass the exam compared with a 73.8% passage rate for all ABA

accredited first-time takers. These dismal bar passage rates, which fall below ABA

requirements and threaten the schools' accreditation, indicate why Summit Law

and the other InfiLaw Sch ools have resorted to manipulating t heir bar passage

rates.

         F.    Bar Passage Assurance Programs

         In a ddition to the mandatory internal bar preparation courses and UP

Progra m, InfiLaw and the InfiLaw Schools offer a "bar passage assurance" program

that provides students with a $10,000 payment if they complete both the internal

bar preparation course, UP Program, and still fail t he bar twice.

         The conditions for the $10,000 Bar Passage Assurance-i.e., failing the bar

twice, completing the intern al bar prep aration course, and completing the UP

Program-are activities that occur after students graduate (and are no longer

enrolled) in the InfiLaw Schools. The internal bar preparation course a nd UP
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Programs are not licensed by the InfiLaw Schools' states as higher education

progr a ms . As a result, it is contr ary to t he Title IV regulations and ED guidance to

count the Bar P assage Assura nce payment as institu tional aid or fail to deduct the

UP Program payments or Bar P assage Assura nce payments as refunds for the

inter nal bar preparation course fee .

      G.     The Combined Effect on lnfiLa w's 90/10 Rule Calculation

      InfiLaw and t he InfiLaw Schools created and implemente d the internal bar

preparation course and UP program with t he express goal of materially falsifying

t he Schools' 90/10 Rule calculation. The effect on th e 90/10 Rule data was

magnifie d, wit hout impacting InfiLaw's profits, because the Sch ools reduced the

"90" (Title IV revenue) by amounts it p aid to students t hrough the UP and Bar

P assage Assurance Programs while also inflating t he "10" (non-Title IV revenue) by

t he amounts it collected for the internal bar review courses and AAMPLE

Progr ams. This manipulation was material in t h at the InfiLaw Schools would h ave

been ineligible to r eceive Title IV funding h a d t he government known about t he

intentional falsification of the 90/10 Rule data each sch ool is required to provide

annually to t he ED.

      COUNT 1: PRESENTMENT OF CLAIMS IN VIOLATION OF THE
        FEDERAL FALSE CLAIMS ACT (31 U.S. C. § 3729(a)(1)(A))

       Relators re-a llege and incorporate by referen ce t h e allegation s contained in

all previous paragraphs as if fully st ated in t his Count.




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      This is a claim for treble da mages and civil penalties under t he False Claims

Act, 31 U.S.C. § 3729(a)(1)(A).

      By virtue of the acts described above, Defendan ts knowingly presented or

caused to be presented to the United States Government fa lse or fraudulent claims.

      Such claims were false or fraudulen t because the Defenda nts falsely

submitted, or caused to be submitted, claims for Title IV funding that were not

eligible for payment under the federal regulations governing the Title IV Programs.

The United States, unaware of the falsity of the claims made by the Defendants,

paid Defendants for claims that would otherwise not have been allowed.

      By knowingly failing to comply with requirements upon which payment was

con tin gent, each claim presented or caused to be presented by Defendants was false.

As a result of these false claims, the United States paid over $533 million in federal

student aid funding during t h e 2012-2013, 2013-2014, and 2014-2015 school years.

      By knowingly, willfully or reckle ssly presenting, or causing other to present,

false claims for payment to the United States, Defendants h ave defr auded t he

United Stat es in contravention of the False Claims Act, 31 U.S.C. § 3729(a)(1)(A), to

the damage of the treasury of the United States of America, by causing th e United

States to pay out money that it was not obligated to pay. In carrying out these

wrongful acts, Defendant h as en gaged in a protracted course and pattern of

fraudulent conduct that was m a terial to the United States' decision to pay these

false claims.



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      As a direct a nd proximate result of Defendants' fraudulent and/or illegal

actions a nd pattern of fraudulent conduct, the United States has paid directly or

indirectly thousands of false claims that it would not otherwise have paid.

      Damages to the United States include, but are not limited to, three times the

full value of all such fraudulent claims.

      Each and every such fraudulent claim is also subject to a civil fine under the

False Claims Act of five thousand five hundred to eleven thousand dollars

($5,500- $11,000).

   COUNT II: FALSE STATEMENTS IN VIOLATION OF THE FEDERAL
             FALSE CLAIMS ACT (31 U.S.C. § 3729(a)(1)(B))

      2.     Relators re-allege and incorporate by reference t he allegations

contained in all previous paragraphs as if fully stated in this Count.

      This is a claim for treble damages a nd civil penalties under the False Claims

Act, 31 U.S.C. § 3729(a)(1)(B).

      By virtue of the acts described above, Defendant made, used, and caused to

be made and used, false records and statements that were material a nd caused or

contributed to improper payments of federal funding to Defendants. Specifically,

Defendants knowingly expressly and impliedly made false statements and

certifications to the ABA, ED, and prospective students that were material to the

InfiLaw Schools' Title IV eligibility, which is a condition of payment for the Title IV

aid disbursed to the students attending the InfiLaw Schools.




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      The United States, unaware of the falsity of the records, statements, a nd

certifications paid for claims that would otherwise not have been allowed.

      By knowingly, willfully or recklessly making, or causing oth ers to make, false

statements and certifications material to the United States' decision to pay on false

claims, Defendants have defra uded the United States in contravention of the False

Claims Act, 31 U.S.C. § 3729(a)(1)(B), to the damage of the treasury of the United

States of America, by causing the United States to pay out money that it was not

obligated to pay. In carrying out these wrongful acts, Defendants have engaged in a

protracted course a nd pattern of fraudulent conduct that was material to the United

States' decision to pay these false claims.

      As a direct a nd proximate result of Defendants' fraudulent and/or illegal

actions and pattern of fraudulent conduct, the United States has paid directly or

indirectly false claims that it would not otherwise have paid.

      Damages to the United States include, but are not limited to, three times the

full value of all such fraudulent claims.

      Each and every such fraudulent claim is also subj ect to a civil fine under the

False Claims Act of five thousand five hundred to eleven thousand dollars

($5,500- $11,000).

        COUNT III: RETENTION OF OVERPAYMENTS IN VIOLATION OF
         THE FEDERAL FALSE CLAIMS ACT (31 U.S.C. § 3729(a)(l)(G))

      Relators re-a llege and incorporate by reference the allegations contained in

all previous paragraphs as if fully stated in this Count.


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      This is a claim for treble damages and civil penalties under th e False Claims

Act, 31 U.S.C. § 3729(a)(1)(G).

      By virtue of the acts described above, Defendants have knowingly concealed

and/or knowingly and improperly avoided an obligation to transmit money to the

federal government. Specifically, Defendants knew or should h ave known that they

received millions of dollars in payments from TRICARE for claims that were

prohibited by the Anti-Kickback Statute.

      Once known, even if the improper payments were not fixed or clearly defined,

Defendants had an obligation to remit or report such funds to the government

within sixty (60) days. Defendants have not reported or returned the improper

payments described h erein.

      By knowingly concealing and/or knowingly and improperly avoiding its

obligation to transmit money r ecovered to the federal government, Defendants have

defra uded th e United States in contravention of the False Claims Act, 31 U.S.C. §

3729(a)(1)(G), to the damage of t he t reasury of the United States of America, by

causing the United States to be deprived of funds that rightfully belong to the

government.

      As a direct a nd proximate result of Defendants' fraudulen t a nd/or illegal

actions and fraudulent conduct, the United States has been deprived of funds to

which it is lawfully entitled and which wer e improperly paid to Defenda nts.

      Damages to the United States include, but are not limited to, three times the

full value of all such fraudulent claims.
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      Each and every such fraudulent claim is also subject to a civil fine under the

False Claims Act of five-thousand five-hundred to eleven-thousand dollars ($5,500 -

$11,000).

     COUNT IV: CONSPIRACY TO VIOLATE THE FALSE CLAIMS ACT
                     (31 U.S.C. § 3729 (a)(l)(C))

      Relators r e-allege and incorporate by refere nce the allegations contained in

all previous paragraphs as if fully stated in this Count.

      This is a claim for treble damages and civil penalties under the False Claims

Act, 31 U.S.C. § 3729 (a)(1)(C), as amended.

      By virtue of the acts described above, Defendants have knowingly conspired

to violate 31 U.S. C. § 3729(a)(1)(A), § 3729(a)(1)(B), a nd§ 3729(a)(1)(G).

      Specifically, InfiLaw and the InfiLaw Schools entered into agreements with

Barbri and Kaplan to manipulate and misstate t h e InfiLaw Schools' 90/10 Revenue

and bar passage rates. Barbri and Kaplan entered into t h ese agreemen ts knowing

th at the purpose a nd effect of t h e agreements was to manipulate the 90/10 Rule

data to r etain Title IV eligibility in violation of 31 U.S.C. § 3729(a)(1)(A), §

3729(a)(1)(B), a nd § 3729(a)(1)(G).

      Defendants knowingly, recklessly, or with deliberate indifference agreed to

perpetuate a fraudulent scheme to obtain and retain ineligible Title IV funding in

violation of 31 U.S.C. § 3729(a)(1)(A), § 3729(a)(1)(B), and§ 3729(a)(1)(G).

      The United States paid claims that would otherwise not have been allowed as

a result of the actions taken by Defendants in furtherance of a conspiracy to violate


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31 U.S.C. § 3729(a)(1)(A), § 3729(a)(1)(B), and§ 3729(a)(1)(G).

       Defenda nts are jointly a nd severally liable for every violation of the False

Claims Act identified herein because these violations were committed in

furtherance of a scheme to violate the False Cla ims Act, which was undertaken with

the mutual agreement of each Defendant and knowledge of, or reckless indifference

toward, the scheme's illegality.

      Damages to the United States include, but are not limited to, three times the

full value of all such fraudulent claims.

      Each and every such fi·audulent claim is also subject to a civil fine under the

False Claims Act of five thousand five hundred to eleven thousand dollars ($5,500-

$11,000).

       WHEREFORE, Relators          request      that judgment    be   entered   against

Defendants, ordering that:

       a.     Defendants cease a nd desist from violating the F alse Claims Act, 31

U.S.C. § 3729, et seq.;

       b.     Defendants pay not less than $5,500 a nd not more than $11,000 for

each violation of 31 U .S.C. § 3729, plus three times the amount of damages the

United States has sustained becau se of Defenda nts' actions;

       c.     Relators are awarded the maximum amounts allowed pursuant to 31

U.S.C. § 3730(d);

       d.     Relators are awarded all costs of t his action, including attorneys' fees

and costs pursuant to 31 U.S.C. § 3730(d);
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       e.     Defendants are enjoined from concealing, removm g, encumbering or

disposing of assets which may be required to pay t h e civil monetary penalties

imposed by t he Court;

       f.     Defendants disgor ge all sums by which t hey have been enriched

unjustly by t h eir wron gful conduct;

       g.     The United States and Relators recover su ch other relief as the Court

deems just a nd proper .




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                                 JURY DEMAND

      A trial by jury is hereby demanded.


Dated: November / G o15




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